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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    ROADGET BUSINESS PTE. LTD.,
                                                       Plaintiff,      Case No.: 1:24-cv-00115
          v.
    YONGLI LIN D/B/A CONJECTURE,                                       Judge: Hon. Elaine E. Bucklo
                                                    Defendant.

    ROADGET BUSINESS PTE. LTD.,
                                                       Plaintiff,      Case No.: 1:24-cv-04647
          v.
    DONGGUAN WENHAO APPAREL CO., LTD.                                  Judge: Hon. Elaine E. Bucklo
    D/B/A MI FASHION AND DONGGUAN
    MENGYILIAN APPAREL CO., LTD. D/B/A
    LIVI,
                                                   Defendants.
    ROADGET BUSINESS PTE. LTD.,
                                                       Plaintiff,      Case No.: 1:24-cv-04648
          v.
    GUANGZHOU WUZIRONG TRADING CO.,                                    Judge: Hon. Elaine E. Bucklo
    LTD. D/B/A YEONHEE WOMEN CLOTHING,
                                                    Defendant.
    ROADGET BUSINESS PTE. LTD.,
                                                       Plaintiff,      Case No.: 1:24-cv-04652
          v.
    HUANG KANGWEI,                                                     Judge: Hon. Elaine E. Bucklo
                                                    Defendant.

                                 PARTIES’ JOINT STATUS REPORT 1

        Plaintiff Roadget Business Pte. Ltd. (“Roadget”) and the Defendants 2, by and through their
respective counsel, submit the following joint status report, per the Court’s order. Case No. 24-cv-
00115, Dkt. 96.


1
  Discovery in Case Nos. 24-cv-00115, 24-cv-04647, 24-cv-04648, and 24-cv-04652 has been consolidate by the
Court’s order. Case No. 24-cv-00115, Dkt. 105. Accordingly, this Joint Status Report serves as a status report for
ongoing discovery in these consolidated cases.
2
  “Defendants” refers to the following Defendants: Defendant Yongli Lin d/b/a Conjecture in Case No. 24-cv-
00115; Defendant Dongguan Mengyilian Apparel Co., Ltd. d/b/a Livi and Defendant Dongguan Wenhao Apparel
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                                          Status of Settlement

         The Parties have met and conferred. Roadget and Defendant Dongguan Mengyilian
Apparel Co., Ltd. d/b/a Livi (Case No. 24-cv-04647) have reached a settlement agreement and will
file a dismissal once the terms of the agreement are met. The remaining Parties have not reached
a settlement agreement at this time.

       The remaining Defendants made counteroffers to Roadget on June 25, 2024 and followed
up with Roadget multiple times thereafter. Roadget is not able to provide counteroffers at this time,
but Roadget anticipates further discovery will aid settlement discussions with the remaining
Defendants. The remaining Defendants respectfully request that the Court set a settlement
conference between the Parties at its earliest convenience.

                                          Status of Discovery

        Roadget served Defendants with its requests for production and interrogatories on August
7, 2024, and agreed to Defendants’ request for a three-week extension to respond to Roadget’s
requests. Defendants served their responses to Roadget’s requests for production and
interrogatories on September 27, 2024. Roadget has reviewed Defendants’ initial responses and
believe them to be deficient in various respects, but Roadget intends to meet and confer with
Defendants to narrow the scope of any disputes before raising them with the Court. Roadget
expects the entry of a protective order to streamline the parties’ resolution of any discovery
disputes and will work with Defendants toward an agreement on an appropriate proposed
protective order, bringing any disputes regarding its scope to the Court at an appropriate time.
Defendants disagree with Roadget as to the scope and relevance of certain discovery requests and
Defendants are prepared to meet and confer with Roadget to discuss and clarify these requests.

       Defendants served Roadget with their requests for production and interrogatories on July
26, 2024. Roadget responded to Defendants’ discovery requests and produced documents on
August 26, 2024. Defendants believe Roadget’s discovery responses are deficient but intend to
meet and confer with Roadget to narrow the scope of any disputes before raising them with the
Court.

       Roadget is prepared to make another production of documents once a protective order has
been entered. The Parties plan to schedule a meet and confer in the near term to discuss a protective
order and disputed discovery requests. The Parties continue to work diligently on discovery.




Co., Ltd. d/b/a Mi Fashion in Case No. 24-cv-04647; Defendant Guangzhou Wuzirong Trading Co. Ltd. d/b/a
Yeonhee Women Clothing in Case No. 24-cv-04648; and Defendant Huang Kangwei in Case No. 24-cv-04652.

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Dated: October 24, 2024                      Respectfully submitted,

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